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             EXHIBIT 1
              Case 1:01-cv-12257-PBS Kinsella    Media
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                              AWP Track II
              Supplemental Notice Options - Updated TV Reach
                            October 2, 2009
                                Paid Media Program Elements
Target Audience
  The published notice program will be measured against the following MRI targets:
   -Adults 35 years of age or older (Adults 35+)
   -Adults 18 years of age or older (Adults 18+)


Media Components
 Internet
 24/7 is a network of web sites that delivers impressions to hundreds of specific interest web site
 channels such as health, travel and women's Interests. The banner ads on the network are used
 to reach a large percentage of the target audience. Impressions bought on the 24/7 Network
 will be targeted to Adults 35+.

   Name                               Unit          Size        Time Frame            Impressions
   24/7 Network                     Banners        728x90         6 Weeks             261,000,000

 Television*
 Television has the ability to reach a wide number of target audience members with an immediate and
 intrusive message. The combination of audio and visual message delivery increases the message impact.
 Viewers can quickly ascertain if the message is important and if so, decide to respond. Cable television
 offers the opportunity to direct the message at a more targeted, niche audience by placing spots in
 programming that is relevant to the advertising message. Network television allows the message to reach
 a wide spectrum of potential class members.

   Name                               Unit                       Time Frame         Estimated Units
   Cable & Network                  :30 Spot                       2 Weeks                60


Paid Media Program Delivery
 Target                                               Estimated Reach           Estimated Frequency
 Adults 35+                                                  55.11%                       3.83
 Adults 18+                                                  42.66%                       3.53




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